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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  FAR NORTH PATENTS, LLC,
                                                       CIVIL ACTION NO. 4:20-cv-822
        Plaintiff,                                     (Consolidated Lead Case)

           v.                                          FIRST AMENDED COMPLAINT FOR
                                                       PATENT INFRINGEMENT
  CONSOLIDATED COMMUNICATIONS
  HOLDINGS, INC., CONSOLIDATED                         JURY TRIAL DEMANDED
  COMMUNICATIONS ENTERPRISE
  SERVICES, INC., CONSOLIDATED
  COMMUNICATIONS OF TEXAS
  COMPANY, and CONSOLIDATED
  COMMUNICATIONS, INC.,


        Defendants.


                FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

          Pursuant to Rule 15(a)(1)(B), Plaintiff Far North Patents, LLC (“Far North Patents” or

 “Plaintiff”) files this first amended complaint against Defendants Consolidated Communications

 Holdings, Inc., Consolidated Communications Enterprise Services, Inc., Consolidated

 Communications of Texas Company, and Consolidated Communications, Inc. (collectively

 “Consolidated”), alleging, based on its own knowledge as to itself and its own actions and based

 on information and belief as to all other matters, as follows:

                                              PARTIES

          1.      Far North Patents is a limited liability company formed under the laws of the

 State of Texas, with its principal place of business at 18383 Preston Rd Suite 250, Dallas, Texas,

 75252.
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          2.     Consolidated Communications Holdings, Inc. is a corporation duly organized and

 existing under the laws of Delaware. Consolidated Communications Holdings, Inc. may be

 served through its registered agent Cogency Global Inc., at 850 New Burton Road Suite 201,

 Dover Delaware 19904.

          3.     Consolidated Communications Enterprise Services, Inc. is a corporation duly

 organized and existing under the laws of Delaware. Consolidated Communications Enterprise

 Services, Inc. may be served through its registered agent Cogency Global Inc., at 1601 Elm

 Street Suite 4360, Dallas, Texas 75201.

          4.     Consolidated Communications of Texas Company is a corporation duly organized

 and existing under the laws of Texas. Consolidated Communications of Texas Company may be

 served through its registered agent Cogency Global Inc., at 1601 Elm Street Suite 4360, Dallas,

 Texas 75201.

          5.     Consolidated Communications, Inc. is a corporation duly organized and existing

 under the laws of Illinois. Consolidated Communications, Inc. may be served through its

 registered agent Cogency Global Inc., at 600 South Second Street, Suite 404, Springfield, Illinois

 62704.

          6.     The Defendants identified in paragraphs 2-5 above (collectively, “Consolidated”)

 are an interrelated group of companies which together comprise one of the largest providers of

 internet services and DSL modems in the United States, including under the Consolidated brand.

          7.     The Consolidated defendants named above and their affiliates are part of the same

 corporate structure and distribution chain for the making, importing, offering to sell, selling, and

 using of the accused devices in the United States, including in the State of Texas generally and

 this judicial district in particular.



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        8.         The Consolidated defendants named above and their affiliates share the same

 management, common ownership, advertising platforms, facilities, distribution chains and

 platforms, and accused product lines and products involving related technologies.

        9.         The Consolidated defendants regularly contract with customers regarding

 equipment or services that will be provided by their affiliates on their behalf.

        10.        Thus, the Consolidated defendants named above and their affiliates operate as a

 unitary business venture and are jointly and severally liable for the acts of patent infringement

 alleged herein.

                                    JURISDICTION AND VENUE

        11.        This is an action for infringement of United States patents arising under 35 U.S.C.

 §§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

 under 28 U.S.C. § 1331 and § 1338(a).

        12.        This Court has personal jurisdiction over Consolidated pursuant to due process

 and/or the Texas Long Arm Statute because, inter alia, (i) Consolidated has done and continues

 to do business in Texas; (ii) Consolidated has committed and continues to commit acts of patent

 infringement in the State of Texas, including making, using, offering to sell, and/or selling

 accused products in Texas, and/or importing accused products into Texas, including by Internet

 sales and sales via retail and wholesale stores, inducing others to commit acts of patent

 infringement in Texas, and/or committing a least a portion of any other infringements alleged

 herein; and (iii) Consolidated Communications Enterprise Services, Inc. and Consolidated

 Communications of Texas Company are registered to do business in Texas.

        13.        Venue is proper in this district pursuant to 28 U.S.C. § 1400(b). Venue is further

 proper because Consolidated has committed and continues to commit acts of patent infringement



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 in this district, including making, using, offering to sell, and/or selling accused products in this

 district, and/or importing accused products into this district, including by Internet sales and sales

 via retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

 and/or committing at least a portion of any other infringements alleged herein in this district.

 Consolidated has regular and established places of business in this district, including at least at

 its Lufkin Customer Service & Business Office at 321 N. First Street, Lufkin, Texas 75901, as

 shown in the below screenshots:




 (Source: screenshot from Angelina CAD website)




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 (Source: screenshot from Google Maps Street View)




 (Source: screenshot from https://www.consolidated.com/about-us/locations/texas)




 (Source: screenshot from https://www.consolidated.com/about-us/locations/texas)




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 (Source: screenshot from https://www.consolidated.com/about-us/locations/texas)

                                        BACKGROUND

        14.    The patents-in-suit generally pertain to techniques for delivering high speed

 internet connections and other advanced communication services. The technology disclosed by

 the patents was developed by personnel at 3Com Corporation (“3Com”).

        15.    3Com was a U.S. telecommunications and consumer electronics company. Listed

 on the NASDAQ, 3Com made the Fortune 500 list in five separate years. 3Com was a major

 contributor to Ethernet technology as well as other technology enabling high speed internet

 connections. The patents developed at 3Com (“the Lewin patents”) relate to very high speed

 digital subscriber line (“VDSL”) technology. The technology is used in various types of VDSL

 equipment including customer premise equipment such as DSL modems and provider equipment

 such as digital subscriber line access multiplexers (“DSLAMs”).




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           16.   The Lewin patents have been cited during patent prosecution by numerous

 leading companies in the communications industry, including Altera, AT&T, Bell Canada,

 Canon, Cisco, Huawei, Infineon, IBM, Samsung, Southwestern Bell, Semiconductor Energy

 Laboratory, Serconet, Siemens, Via Technologies, and ZTE.

                                              COUNT I

                 DIRECT INFRINGEMENT OF U.S. PATENT NO. 8,031,707

           17.   On October 4, 2011, United States Patent No. 8,031,707 (“the ‘707 Patent”) was

 duly and legally issued by the United States Patent and Trademark Office for an invention

 entitled “System for Transporting Ethernet Frames Over Very High Speed Digital Subscriber

 Lines.”

           18.   Far North Patents is the owner of the ‘707 Patent, with all substantive rights in

 and to that patent, including the sole and exclusive right to prosecute this action and enforce the

 ‘707 Patent against infringers, and to collect damages for all relevant times.

           19.   Consolidated made, had made, used, imported, provided, supplied, distributed,

 sold, and/or offered for sale products and/or systems including, for example, its Consolidated

 Internet service using the Zhone 6729-W1 Modem/Router family of products, that include

 VDSL2 capabilities (“accused products”):




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 (Source : https://www.consolidated.com/support/residential-support/internet-email-

 support/internet-installation-modem-guides)




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.multicominc.com/product/zhone-6729-w1-xdsl-bonding-4-port-802-

 11bgn-gateway/)

        20.     By doing so, Consolidated has directly infringed (literally and/or under the

 doctrine of equivalents) at least Claim 1 of the ‘707 Patent. Consolidated’s infringement in this

 regard is ongoing.

        21.     Consolidated has infringed the ‘707 Patent by making, having made, using,

 importing, providing, supplying, distributing, selling or offering for sale products including an

 apparatus comprising an Ethernet transceiver configured to receive an Ethernet frame from a


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 source. For example, the Accused Products are and have been used by Defendant to implement

 the ITU-T G.993.2 recommendation, whose requirements were in effect at least six years before

 the Original Complaint. The Recommendation specified by ITU-T G.993.2 includes a VTU

 (VDSL2 Transceiver Unit) functional model that transports ethernet packets using a very high-

 speed digital subscriber line (VDSL). The model includes an application specific layer

 comprising Transport Protocol Specific - Transmission Convergence (TPS-TC) sub-layers. The

 TPS-TC layers support transport of ethernet packets using ATM-TC (Asynchronous Transfer

 Mode – Transmission Convergence). Also, the ITU-T G.993.2 standard recommends transfer of

 ethernet packets using PTM-TC (Packet Transfer Mode – Transmission Convergence). Further,

 the signals sent from the TPS-TC layer, either using ATM-TC or PTM-TC are converted into a

 unified format i.e., the signals from TPS-TC layer are application-independent in the subsequent

 layers of transmission. The ethernet packets are transported, so they are transmitted from an

 ethernet transmitter to an ethernet receiver. Both ethernet transmitter and ethernet receiver

 constitutes an ethernet transceiver which receives Ethernet frames from an Ethernet source such

 as a computer with a network card.




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

 E&type=items)




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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

 E&type=items)




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 E&type=items)

        22.    The accused products include a very high speed digital subscriber line (VDSL)

 transceiver configured to transmit on at least one VDSL link, wherein a VDSL protocol for the

 VDSL link defines a fixed size for each VDSL frame to be transmitted on the VDSL link. For

 example, the Accused Products are and have been used by Defendant to implement the ITU-T


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 G.993.2 recommendation, whose requirements were in effect at least six years before the

 Original Complaint. The Recommendation ITU-T G.993.2 includes VTU (VDSL2 transceiver

 unit) to transmit the user data using TPS-TC layers. The VTU further supports mapping of all

 TPS-TC types to all bearer channels that carry main data i.e. each VDSL link that transports user

 data supports multiple protocols. One such transport protocol is ATM-TC (VDSL protocol).

 ATM-TC protocol defines procedures for transporting ethernet frames that are encapsulated into

 ATM cells (VDSL frames) over VDSL links. Each ATM cell has a fixed length of 53 octets

 (fixed size) and is transported via VDSL link.




 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.multicominc.com/product/zhone-6729-w1-xdsl-bonding-4-port-802-

 11bgn-gateway/)




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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.1-200111-S!!PDF-

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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.1-200111-S!!PDF-

 E&type=items)




 (Source:

 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.468.597&rep=rep1&type=pdf)

        23.    The accused products include an encapsulation unit coupled to the Ethernet

 transceiver and the VDSL transceiver, wherein the encapsulation unit is configured to

 encapsulate the Ethernet frame in a corresponding frame. For example, the Accused Products

 are and have been used by Defendant to implement the ITU-T G.993.2 recommendation, whose

 requirements were in effect at least six years before the Original Complaint. The TPS-TC layers

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 support transport of various types of user data. According to ITU-T G.993.2, ethernet packet is

 one of the user data types transported using Packet transmission convergence function (PTM-

 TC) function. The PTM-TC function provides procedures for transporting ethernet packets. The

 ethernet packets are transported, so the packets are transmitted from an ethernet transmitter to an

 ethernet receiver. Both ethernet transmitter and ethernet receiver constitutes an ethernet

 transceiver. Further, the PTM-TC function mentioned in the recommendation ITU-T G.993.2 is

 used for transporting ethernet frames using VDSL transceiver unit (VTU). Also, the PTM-TC

 encapsulates the ethernet frame into a PTM-TC frame (corresponding frame) by appending CRC

 to each ethernet frame. The hardware and/or software implementing this functionality is an

 encapsulation unit.




 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.992.3-200509-

 S!Amd1!PDF-E&type=items)

        24.     The accused products include wherein the corresponding frame exceeds the fixed

 size defined in the VDSL protocol, and wherein the VDSL transceiver is configured to transmit

 the corresponding frame on the VDSL link even though the corresponding frame exceeds the

 fixed size. For example, the Accused Products are and have been used by Defendant to

 implement the ITU-T G.993.2 recommendation, whose requirements were in effect at least six

 years before the Original Complaint. The Recommendation ITU-T G.993.2 includes VTU

 (VDSL2 transceiver unit) to transmit the user data using TPS-TC layers. The VTU further

 supports mapping of all TPS-TC types to all bearer channels that carry main data i.e. each VDSL

 link that transports user data supports multiple protocols. One such transport protocol is ATM-

 TC (VDSL protocol). ATM-TC protocol defines procedures for transporting ethernet frames that

 are encapsulated into ATM cells (VDSL frames) over VDSL links. Each ATM cell has a fixed

 length of 53 octets (fixed size) and is transported via VDSL link. Further, PTM-TC is also

 responsible to transport ethernet packets. Further, the signals sent from the TPS-TC layer, either

 using ATM-TC or PTM-TC are converted into a unified format i.e., the signals from TPS-TC

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 layer are application-independent in the subsequent layers of transmission. Ethernet packets,

 generally, have a minimum of 64 data bytes. The PTM-TC is configured to encapsulate such

 ethernet packets into PTM-TC frames (corresponding frame) by appending CRC. The size of the

 PTM-TC frames therefore exceeds 53 octets (fixed size) defined in ATM-TC (VDSL protocol).

 The PTM-TC frames are further mapped to transmission frame for transmission over VDSL link.

 Hence, the VTU is configured to transmit the PTM-TC frame (corresponding frame) on the

 VDSL link even though the corresponding frame exceeds the fixed size.




 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

 E&type=items)




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 (Source:

 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.468.597&rep=rep1&type=pdf)

        25.     Consolidated has had actual knowledge of the ‘707 Patent at least as of the date

 when it was notified of the filing of this action. By the time of trial, Consolidated will have

 known and intended (since receiving such notice) that its continued actions would infringe and

 actively induce and contribute to the infringement of one or more claims of the ‘707 Patent.

        26.     Far North Patents has been damaged as a result of the infringing conduct by

 Consolidated alleged above. Thus, Consolidated is liable to Far North Patents in an amount that

 adequately compensates it for such infringements, which, by law, cannot be less than a

 reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.




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           27.   Far North Patents and/or its predecessors-in-interest have satisfied all statutory

 obligations required to collect pre-filing damages for the full period allowed by law for

 infringement of the ‘707 Patent.

                                              COUNT II

                 DIRECT INFRINGEMENT OF U.S. PATENT NO. 9,178,985

           28.   On November 3, 2015, United States Patent No. 9,178,985 (“the ‘985 Patent”)

 was duly and legally issued by the United States Patent and Trademark Office for an invention

 entitled “System for Transporting Ethernet Frames Over Very High Speed Digital Subscriber

 Lines.”

           29.   Far North Patents is the owner of the ‘985 Patent, with all substantive rights in

 and to that patent, including the sole and exclusive right to prosecute this action and enforce the

 ‘985 Patent against infringers, and to collect damages for all relevant times.

           30.   Consolidated made, had made, used, imported, provided, supplied, distributed,

 sold, and/or offered for sale products and/or systems including, for example, its Consolidated

 Internet service using the Zhone 6729-W1 Modem/Router family of products, that include

 VDSL2 capabilities (“accused products”):




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 (Source : https://www.consolidated.com/support/residential-support/internet-email-

 support/internet-installation-modem-guides)




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.multicominc.com/product/zhone-6729-w1-xdsl-bonding-4-port-802-

 11bgn-gateway/)

        31.     By doing so, Consolidated has directly infringed (literally and/or under the

 doctrine of equivalents) at least Claim 1 of the ‘985 Patent.

        32.     Consolidated has infringed the ‘985 Patent by using the accused products and

 thereby practicing a method of encapsulating Ethernet frames onto a Very high speed Digital

 Subscriber Line (VDSL) facility. For example, the Accused Products are and have been used by

 Defendant to implement the ITU-T G.993.2 recommendation, whose requirements were in effect


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 at least six years before the Original Complaint. The Recommendation specified by ITU-T

 G.993.2 includes a VTU (VDSL2 Transceiver Unit) functional model that encapsulates and

 transports ethernet packets using very a high-speed digital subscriber line (VDSL) facility. The

 model includes an application specific layer comprising Transport Protocol Specific -

 Transmission Convergence (TPS-TC) sub-layers. The TPS-TC layers support transport of

 ethernet packets using ATM-TC (Asynchronous Transfer Mode – Transmission Convergence).

 Also, the ITU-T G.993.2 standard recommends transfer of ethernet packets using PTM-TC

 (Packet Transfer Mode – Transmission Convergence). Further, the signals sent from the TPS-TC

 layer, either using ATM-TC or PTM-TC are converted into a unified format i.e., the signals from

 TPS-TC layer are application-independent in the subsequent layers of transmission. The ethernet

 packets are transported, so they are transmitted from an ethernet transmitter to an ethernet

 receiver. Both ethernet transmitter and ethernet receiver constitutes an ethernet transceiver which

 receives Ethernet frames from an Ethernet source such as a computer with a network card.




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 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.multicominc.com/product/zhone-6729-w1-xdsl-bonding-4-port-802-

 11bgn-gateway/)




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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

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 E&type=items)

        33.     The methods practiced by Consolidated’s use of the accused products include

 receiving Ethernet frames from an Ethernet source and storing said Ethernet frames for

 subsequent forwarding. For example, the Accused Products are and have been used by

 Defendant to implement the ITU-T G.993.2 recommendation, whose requirements were in effect

 at least six years before the Original Complaint. The Recommendation specified by ITU-T

 G.993.2 includes a VTU (VDSL2 Transceiver Unit) functional model that encapsulates and

 transports ethernet packets using very a high-speed digital subscriber line (VDSL) facility. The

 model includes an application specific layer comprising Transport Protocol Specific -

 Transmission Convergence (TPS-TC) sub-layers. The TPS-TC layers support transport of

 ethernet packets using ATM-TC (Asynchronous Transfer Mode – Transmission Convergence).

 Also, the ITU-T G.993.2 standard recommends transfer of ethernet packets using PTM-TC

 (Packet Transfer Mode – Transmission Convergence). Further, the signals sent from the TPS-TC

 layer, either using ATM-TC or PTM-TC are converted into a unified format i.e., the signals from


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 TPS-TC layer are application-independent in the subsequent layers of transmission. The ethernet

 packets are transported, so they are transmitted from an ethernet transmitter to an ethernet

 receiver. Both ethernet transmitter and ethernet receiver constitutes an ethernet transceiver which

 receives Ethernet frames from an Ethernet source such as a computer with a network card. The

 PTM-TC of VTU (VDSL2 Transceiver Unit) is intended to transport ethernet frames. Ethernet

 frames are transmitted to an ethernet receiver, and those ethernet frames are and have been stored

 in a memory at least by the BCM63168 DSL System on a Chip that is in the Accused Products.




 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 (Source : https://www.multicominc.com/product/zhone-6729-w1-xdsl-bonding-4-port-802-

 11bgn-gateway/)




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 (Source : screenshot of PDF downloaded from https://fccid.io/PJZ67X9/Internal-Photos/Int-r1-

 2496944.pdf)




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 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

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 S!Amd1!PDF-E&type=items)

        34.    The methods practiced by Consolidated’s use of the accused products include

 encapsulating said previously stored Ethernet frames within a plurality of variable-length VDSL

 frames, wherein each Ethernet frame is encapsulated entirely within a respective variable-length
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 VDSL frame of the plurality of variable-length VDSL frames. For example, the Accused

 Products are and have been used by Defendant to implement the ITU-T G.993.2

 recommendation, whose requirements were in effect at least six years before the Original

 Complaint. The TPS-TC layers support transport of various types of user data. According to

 ITU-T G.993.2, ethernet packet is one of the user data types transported using Packet

 transmission convergence function (PTM-TC) function. The PTM-TC function provides

 procedures for transporting ethernet packets (frames) using PTM-TC frames (variable-length

 VDSL frames). Further, the PTM-TC function mentioned in the recommendation ITU-T

 G.993.2 is used for transporting an ethernet frame in a PTM-TC frame (variable-length VDSL

 frame) using VDSL transceiver unit (VTU). Also, the PTM-TC encapsulates the ethernet frames

 into PTM-TC frames (variable-length VDSL frames) by appending CRC to each ethernet frame.




 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.993.2-200602-S!!PDF-

 E&type=items)




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 E&type=items)




 (Source: https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.992.3-200509-

 S!Amd1!PDF-E&type=items)

        35.     The methods practiced by Consolidated’s use of the accused products include

 wherein a first length of a first respective variable-length VDSL frame exceeds a second length

 of fixed-length VDSL frames. For example, the Accused Products are and have been used by

 Defendant to implement the ITU-T G.993.2 recommendation, whose requirements were in effect

 at least six years before the Original Complaint. The Recommendation ITU-T G.993.2 includes

 VTU (VDSL2 transceiver unit) to transmit the user data using TPS-TC layers. The VTU further

 supports mapping of all TPS-TC types to all bearer channels that carry main data i.e. each VDSL

 link that transports user data supports multiple protocols. One such transport protocol is ATM-

 TC (VDSL protocol). ATM-TC protocol defines procedures for transporting ethernet frames that

 are encapsulated into ATM cells (VDSL frames) over VDSL links. Each ATM cell has a fixed

 length of 53 octets (fixed-length) and is transported over a fixed-length VDSL frame via VDSL

 link. Further, PTM-TC is also responsible to transport ethernet packets, which are variable in

 length, over variable-length VDSL frames. Further, the signals sent from the TPS-TC layer,

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 either using ATM-TC or PTM-TC are converted into a unified format i.e., the signals from TPS-

 TC layer are application-independent in the subsequent layers of transmission. Ethernet packets,

 generally, have a minimum of 64 data bytes. The PTM-TC is configured to encapsulate such

 ethernet packets into PTM-TC frames (corresponding frame) by appending CRC. The size of the

 variable-length PTM-TC (VDSL) frames therefore exceeds 53 octets (fixed length) defined in

 ATM-TC (VDSL frame). The PTM-TC frames are further mapped to transmission frame for

 transmission over VDSL link. Hence, the VTU is configured to transmit the PTM-TC frame

 (corresponding frame) on the VDSL link wherein the first length of a first respective variable-

 length VDSL frame exceeds a second length of fixed-length VDSL frames.




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 (Source: http://www.hit.bme.hu/~jakab/edu/litr/Access/DSL/vdsl2.pdf)

        36.    The methods practiced by Consolidated’s use of the accused products include

 transmitting said plurality of variable-length VDSL frames over said VDSL facility. For

 example, the Accused Products are and have been used by Defendant to implement the ITU-T

 G.993.2 recommendation, whose requirements were in effect at least six years before the

 Original Complaint. The Recommendation specified by ITU-T G.993.2 includes a VTU

 (VDSL2 Transceiver Unit) functional model that encapsulates and transmits ethernet packets

 using very a high-speed digital subscriber line (VDSL) link. The model includes an application

 specific layer comprising Transport Protocol Specific - Transmission Convergence (TPS-TC)

 sub-layers. The TPS-TC layers support transport of packets using ATM-TC (Asynchronous

 Transfer Mode – Transmission Convergence). Also, the ITU-T G.993.2 standard recommends



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 transfer of ethernet packets using PTM-TC (Packet Transfer Mode – Transmission

 Convergence). Further, the signals sent from the TPS-TC layer, either using ATM-TC or PTM-

 TC are converted into a unified format i.e., the signals from TPS-TC layer are application-

 independent in the subsequent layers of transmission. The variable-length VDSL frame are thus

 transmitted over said VDSL facility.




 (Source : https://www.consolidated.com/Portals/0/Support/Residential Support/High-Speed

 Internet/Internet Installation and Modem Guides/ZhoneConfig/Zhone 6729 Install Guide.pdf)




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 E&type=items)

        37.     Far North Patents has been damaged as a result of the infringing conduct by

 Consolidated alleged above. Thus, Consolidated is liable to Far North Patents in an amount that

 adequately compensates it for such infringements, which, by law, cannot be less than a

 reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        38.     Far North Patents and/or its predecessors-in-interest have satisfied all statutory

 obligations required to collect pre-filing damages for the full period allowed by law for

 infringement of the ‘985 Patent.

              ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

        39.     In addition to any specific products mentioned above, the accused products also

 include at least the following products: ADTRAN Total Access 5000, ADTRAN TA1148VX,

 ADTRAN TA5006, CT-5372, CT5372E, CT-5374, Zhone 6729-W1, and VMG4825-B10A.

        40.     Consolidated has also indirectly infringed the ‘707 Patent and the ‘985 Patent by

 inducing others to directly infringe the ‘707 Patent and the ‘985 Patent. Consolidated has



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 induced the end-users, Consolidated’s customers, to directly infringe (literally and/or under the

 doctrine of equivalents) the ‘707 Patent and the ‘985 Patent by using the accused products.

         41.     Consolidated took active steps, directly and/or through contractual relationships

 with others, with the specific intent to cause them to use the accused products in a manner that

 infringes one or more claims of the patents-in-suit, including, for example, Claim 1 of the ‘707

 Patent and Claim 1 of the ‘985 Patent.

         42.     Such steps by Consolidated included, among other things, advising or directing

 customers and end-users to use the accused products in an infringing manner; advertising and

 promoting the use of the accused products in an infringing manner; and/or distributing

 instructions that guide users to use the accused products in an infringing manner.

         43.     Consolidated has performed these steps, which constitute induced infringement,

 with the knowledge of the ‘707 Patent and the ‘985 Patent and with the knowledge that the

 induced acts constitute infringement.

         44.     Consolidated was and is aware that the normal and customary use of the accused

 products by Consolidated’s customers would infringe the ‘707 Patent and the ‘985 Patent.

 Consolidated’s inducement is ongoing.

         45.     Consolidated has also induced its affiliates, or third-party manufacturers, shippers,

 distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

 (literally and/or under the doctrine of equivalents) the ‘707 Patent and the ‘985 Patent by

 importing, selling, offering to sell, and/or using the accused products.

         46.     Consolidated has at least a significant role in placing the accused products in the

 stream of commerce in Texas and elsewhere in the United States.




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        47.     Consolidated directs or controls the making of accused products and their

 shipment to the United States, using established distribution channels, for sale in Texas and

 elsewhere within the United States.

        48.     Consolidated directs or controls the sale of the accused products into established

 United States distribution channels, including sales to nationwide retailers.

        49.     Consolidated’s established United States distribution channels include one or

 more United States based affiliates.

        50.     Consolidated directs or controls the sale of the accused products online on its

 websites as well as in nationwide Consolidated Stores and Service Centers, including for sale in

 Texas and elsewhere in the United States, and expects and intends that the accused products will

 be so sold.

        51.     Consolidated took active steps, directly and/or through contractual relationships

 with others, with the specific intent to cause such persons to import, sell, or offer to sell the

 accused products in a manner that infringes one or more claims of the patents-in-suit, including,

 for example, Claim 1 of the ‘707 Patent and Claim 1 of the ‘985 Patent.

        52.     Such steps by Consolidated included, among other things, making or selling the

 accused products outside of the United States for importation into or sale in the United States, or

 knowing that such importation or sale would occur; and directing, facilitating, or influencing its

 affiliates, or third-party manufacturers, shippers, distributors, retailers, or other persons acting on

 its or their behalf, to import, sell, or offer to sell the accused products in an infringing manner.

        53.     Consolidated performed these steps, which constitute induced infringement, with

 the knowledge of the ‘707 Patent and the ‘985 Patent and with the knowledge that the induced

 acts would constitute infringement.



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        54.      Consolidated performed such steps in order to profit from the eventual sale of the

 accused products in the United States.

        55.      Consolidated’s inducement is ongoing.

        56.      Consolidated has also indirectly infringed by contributing to the infringement of

 the ‘707 Patent and the ‘985 Patent. Consolidated has contributed to the direct infringement of

 the ‘707 Patent and the ‘985 Patent by the end-user of the accused products.

        57.      The accused products have special features that are specially designed to be used

 in an infringing way and that have no substantial uses other than ones that infringe the ‘707

 Patent and the ‘985 Patent, including, for example, Claim 1 of the ‘707 Patent and Claim 1 of the

 ‘985 Patent.

        58.      As described above, the special features include improved VDSL2 transmission

 capabilities used in a manner that infringes the ‘707 Patent and the ‘985 Patent.

        59.      The special features constitute a material part of the invention of one or more of

 the claims of the ‘707 Patent and the ‘985 Patent and are not staple articles of commerce suitable

 for substantial non-infringing use.

        60.      Consolidated’s contributory infringement is ongoing.

        61.      Furthermore, Consolidated has a policy or practice of not reviewing the patents of

 others (including instructing its employees to not review the patents of others), and thus has been

 willfully blind of Far North Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

 2008 Mich. St. L. Rev. 19 (2008).

        62.      Consolidated’s actions are at least objectively reckless as to the risk of infringing

 valid patents and this objective risk was either known or should have been known by

 Consolidated.



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        63.     Consolidated has knowledge of the ‘707 Patent and the ‘985 Patent.

        64.     Consolidated’s customers have infringed the ‘707 Patent and the ‘985 Patent.

        65.     Consolidated encouraged its customers’ infringement.

        66.     Consolidated’s direct and indirect infringement of the ‘707 Patent and the ‘985

 Patent is, has been, and/or continues to be willful, intentional, deliberate, and/or in conscious

 disregard of Far North Patents’ rights under the patents.

        67.     Far North Patents has been damaged as a result of the infringing conduct by

 Consolidated alleged above. Thus, Consolidated is liable to Far North Patents in an amount that

 adequately compensates it for such infringements, which, by law, cannot be less than a

 reasonable royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                  CLARIFICATION REGARDING PATENT EXPIRATION

        68.     For the avoidance of doubt, Far North Patents does not seek relief under any

 asserted patent for acts occurring after the expiration of that patent.

                                           JURY DEMAND

        Far North Patents hereby requests a trial by jury on all issues so triable by right.

                                      PRAYER FOR RELIEF

        Far North Patents requests that the Court find in its favor and against Consolidated, and

 that the Court grant Far North Patents the following relief:

        a.      Judgment that one or more claims of the ‘707 Patent and the ‘985 Patent have

 been infringed, either literally and/or under the doctrine of equivalents, by Consolidated and/or

 all others acting in concert therewith;

        b.      A permanent injunction enjoining Consolidated and its officers, directors, agents,

 servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in



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 concert therewith from infringement of the ‘707 Patent; or, in the alternative, an award of a

 reasonable ongoing royalty for future infringement of the ‘707 Patent by such entities;

        c.      Judgment that Consolidated account for and pay to Far North Patents all damages

 to and costs incurred by Far North Patents because of Consolidated’s infringing activities and

 other conduct complained of herein, including an award of all increased damages to which Far

 North Patents is entitled under 35 U.S.C. § 284;

        d.      That Far North Patents be granted pre-judgment and post-judgment interest on the

 damages caused by Consolidated’s infringing activities and other conduct complained of herein;

        e.      That this Court declare this an exceptional case and award Far North Patents its

 reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

        f.      That Far North Patents be granted such other and further relief as the Court may

 deem just and proper under the circumstances.

 Dated: January 19, 2021                      Respectfully submitted,

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